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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2020 OK 70Case Number: SCBD-6971Decided: 09/14/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 70, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2020 DUES



ORDER OF SUSPENSION FOR NONPAYMENT OF DUES



On August 28, 2020, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2020 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1 and in compliance with SCAD 2020-24 and SCAD 2020-29. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.

This Court finds that on or about April 1, 2020, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2020. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named as set forth on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2020 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 14TH DAY OF SEPTEMBER, 2020.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



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&nbsp;Kerry L. Balentine, OBA No. 12204
424 Gold St.
Shelby, NC 28150

Jessica Ann Bates, OBA No. 22485
30 El Perro Dr.
Saint Peters, MO 63376-1127

Jake Randal Boazman, OBA No. 21606
448 US Hwy 60/70/84
Clovis, NM 88101

Scott Alan Briggs, OBA No. 17380
13525 Green Cedar Ln.
Oklahoma City, OK 73131

Randolph D. Bunn, OBA No. 11775
10301 S. 69th East Ave.
Tulsa, OK 74133-6722

Charles Robert Burton IV, OBA No. 14195
The Burton Law Firm, P.C.
1611 South Utica Ave., #335
Tulsa, OK 74104-4909

Jade Caldwell, OBA No. 31820
12316A N. May Ave., Ste. 216
Oklahoma City, OK 73120

Terri Dill Chadick, OBA No. 17855
U of A Law School
1045 W. Maple St.
Waterman Hall Room 189
Fayetteville, AR 72701

Renee Colbert, OBA No. 10623
1900 Main St., Ste. 235-11
Canonsburg, PA 15317-5861

Julianna Gail Deligans, OBA No. 19792
100 North Broadway
Chase Tower, Suite 2900
Oklahoma City, OK 73102

Kathy S. Fry, OBA No. 17285
P.O. Box 1886
Owasso, OK 74055

Jaime Stone Hammer, OBA No. 22799
465 Nottingham Drive
Auburn, AL 36830

Jacob Russell Lee Howell, OBA No. 30874
20 S. 7th Street
Van Buren, AR 72956

Emilie P. Kirkpatrick, OBA No. 21257
1901 N. Classen, Ste. 100
Oklahoma City, OK 73106

Julie Ann Lambeth, OBA No. 32298
8117 Preston Rd., #530
Dallas, TX 75225

Joan Marie Lamson, OBA No. 18756
3709 N. Miller Ave.
Oklahoma City, OK 73112

Deborah M. Wotring Landis, OBA No. 11582
2777 Allen Parkway, 7th Flr.
Houston, TX 77019

Olivia Denton Lucas, OBA No. 30460
1470 Walnut St., Ste. 300
Boulder, CO 80302

Paul D. Meunier, OBA No. 6161
7601 Debeaubien Dr.
Orlando, FL 32835-8127

Brandon Scott Nichols, OBA No. 18973
215 N. Cooke Tr.
Edmond, OK 73034

Lisa Patel, OBA No. 11325
4639 S. Quaker Ave.
Tulsa, OK 74105-4721

Thomas Edward Quirk, OBA No. 30793
P.O. Box 849
780 FM 1626
Manchca, TX 78652-0849

Annie K. Schmitt, OBA No. 30881
2703 E. 9th St.
Tulsa, OK 74112

Linda Lee Schoen, OBA No. 17133
P.O. Box 430
Geneva, IL 60134

Robert Carlyle Scott, OBA No. 22709
1120 NW 51st Street
Oklahoma City, OK 73118

Michael T. Sheffield, OBA No. 8154
1008 S. Madison
Amarillo, TX 79101

Jay Tayar Silvernail, OBA No. 22807
P.O. Box 12369
Oklahoma City, OK 73157-2369

Michael Gene Smith, OBA No. 19994
9857 N. 2210 Rd.
Arapaho, OK 73620

Nataliya Kharmats Tipton, OBA No. 32556
650 Westcross St., UNIT 23
Houston, TX 77018

Kenneth Shane Walker, OBA No. 19628
1722 N. College Ave., Ste. C #224
Fayetteville, AR 72703

Brandon Duane Watkins, OBA No. 18868
713 NE 4th Street
Perkins, OK 74059

Donald Ray Wheat, OBA No. 9510
12817 Ponderosa Blvd
Oklahoma City, OK 73142-2292

Haskell Doak Willis, OBA No. 9703
400 South Muskogee Ave.
Tahlequah, OK 74464

Kenneth Carl Wright, OBA No. 9916
121 S. Orange Ave., Ste. 1500
Orlando, FL 32801

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